Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 1 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 2 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 3 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 4 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 5 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 6 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 7 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 8 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document      Page 9 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document     Page 10 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document     Page 11 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document     Page 12 of 13
Case 18-80203-TLS   Doc 64    Filed 06/18/19 Entered 06/18/19 10:51:08   Desc Main
                             Document     Page 13 of 13
